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IN THE UNITED STATES DISTRICT CoURT "`“ED` BY %”“`-»-- m
FoR THE WESTERN DISTRICT oF TEi\n\na;ssEg5 hug l 8 PH m ah

 

WESTERN DIVISION
UGPMS M. GGULD
LOVERTA MACK, individually, and in CLERK U.§i§l€:@l CUUHY
her representative capacity as next friend WD 91 `*"*3 “""~`»i‘*iPHiS
of WILLIE MACK, deceased,
Plaintiff, NO. 05-2225 Ma/V

vs.
UNlTED STATES OF AM_ERICA,

Defendants.

 

RULE l6(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are
established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1))= september 8, 2005

JOINING PARTIES:
for Plaintiff: October 14, 2005
for Defendant: November ll, 2005
AMENI)ING PLEADINGS:
for Plaintiff: October 14, 2005

for Defendant: November ll, 2005
COMPLETING ALL DISCOVERY: May 15, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES, and

REQUESTS FoR ADMISSION;
May 15 2006 Geme\‘\@~““@
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'rh\s docur\‘\ v F\CP on 8
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(b) EXPERT DIscLosURES (Rule 26(3)(2))=

(1) Plaintiff’s Experts: March 15, 2006
(2) Defendant’s Experts: April 17, 2006

(e) DEPosITIoNs oF EXPERTS=

Same as discovery deadline unless a later date is authorized by the
Court due to special circumstances

FILING DIsPosITIvE MoTIoNS: June 15, 2006
FINAL LIsTs oF WITNESSES AND EXHIBITS (Rule 26(3)(3))=

(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production, and Requests for Admission must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FRCP allow 30 days for a party
to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or service of the response, answer, or objection Which is the
subject of the motion if the default occurs Within 30 days of the discovery deadline, unless
the time for filing such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be Waived.

This case is set for non-jury trial, and the trial is expected to last 3 days. The pretrial
order date, pretrial conference date, and trial date Will be set by the presiding judge.

The parties are reminded that pursuant to Local Rule l l(a)(l)(A), all motions, except
motions pursuant to FRCP 12, 56, 59, and 60 shall be accompanied by a proposed Order and
a Certiflcate of Consultation.

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The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. lf a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge
can normally provide the parties with a definite trial date that will not be continued unless
a continuance is agreed to by al parties or an emed?encycf arises which precludes the matter

from proceedmg to trial tila L€¢Q_X-)
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cl m t l h1s order lias been %'¢entere‘djafter onsultation With trial counsel pursuant to notice

Absent good cause show:n, the scheduling dates set by this order Will not be modified or
extended

IT IS SO ORDERED.

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DIA`NE K. vEsCovo
UNITED srATEs MAGIsrRArE JUDGE

Date: £L(/¢>]Mj /g/, 2&¢7§`

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APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in

case 2:05-CV-02225 was distributed by fax, mail, or direct printing on

August 23, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

